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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
_______________________________________
                                        )
KAREN READ,                             )
                                        )
            Petitioner,                )
                                       )      Civil Action No.
      v.                               )      25-cv-10399-FDS
                                       )
NORFOLK COUNTY SUPERIOR COURT )
and MASSACHUSETTS ATTORNEY             )
GENERAL,                               )
                                       )
            Respondents.               )
_______________________________________)

                        MEMORANDUM AND ORDER ON MOTION
                        FOR A CERTIFICATE OF APPEALABILITY

SAYLOR, C.J.

       This is a petition for writ of habeas corpus under 28 U.S.C. § 2241. Petitioner Karen

Read challenges her continued prosecution in Massachusetts state court, after the declaration of a

mistrial, on the ground that it violates her right under the Double Jeopardy Clause. She is under

indictment for second-degree murder and two other charges; her first trial on those charges ended

in a mistrial after the jury reported that they were deadlocked.

       Her petition presented four questions: (1) “whether the jury's unanimous conclusion

following trial that Ms. Read is not guilty on Counts 1 and 3 constitutes an acquittal and

precludes re-prosecution;” (2) “whether, alternatively, the defense is entitled to a post-verdict

judicial inquiry to determine whether the evidence supports the juror representations as to having

acquitted Ms. Read;” (3) whether re-prosecution is independently barred because there was no

manifest necessity to declare a mistrial on counts for which the jury was not deadlocked;” and
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(4) “assuming arguendo the court found that counsel consented to a mistrial, whether the

defendant's personal consent was required.”

        On March 13, 2025, the Court denied the habeas petition in its entirety, ruling against

petitioner on the first three grounds and determining that it need not reach the fourth ground.

        To appeal a final order in a habeas proceeding that contests the validity of state custody, a

petitioner must first obtain a certificate of appealability from a circuit justice or a district court.

See 28 U.S.C. § 2253(c). A COA will issue only if the petitioner “has made a substantial

showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). This standard is

satisfied by “demonstrating that jurists of reason could disagree with the district court’s

resolution of [petitioner’s] constitutional claims or that jurists could conclude the issues

presented are adequate to deserve encouragement to proceed further.” Miller-El v. Cockrell, 537

U.S. 322, 327 (2003).

        Petitioner has made the necessary “substantial showing of the denial of a constitutional

right” as to all claims. 28 U.S.C. § 2253(c)(2). Accordingly, a certificate of appealability is

GRANTED as to all claims.

So Ordered.



                                                    /s/ F. Dennis Saylor IV
                                                    F. Dennis Saylor IV
Dated: March 13, 2025                               Chief Judge, United States District Court




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